          Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 1 of 7 PageID 5




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19191277
Notice of Service of Process                                                                            Date Processed: 01/08/2019

Primary Contact:           Phil Harnden
                           Menzies Aviation
                           4900 Diplomacy Rd
                           Fort Worth, TX 76155-2639

Electronic copy provided to:                   Ashley Whitcher
                                               Jenell Castleman

Entity:                                       Menzies Aviation (USA) Inc.
                                              Entity ID Number 0419389
Entity Served:                                Menzies Aviation (USA), Inc.
Title of Action:                              Dean Briscoe vs. Menzies Aviation (USA), Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Orange County Circuit Court, FL
Case/Reference No:                            2018-ca-013983-o
Jurisdiction Served:                          Florida
Date Served on CSC:                           01/08/2019
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Brian M. Davis
                                              407-300-0000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
       Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 2 of 7 PageID 6

Filing #82607924 E-Filed 12/27/2018 03:24:35 PM


                                                                 IN THE CIRCUIT COURT OF THE
                                                                 NINTH JUDICIAL CIRCUIT, IN AND
                                                                 FOR ORANGE COUNTY, FLORIDA

                                                                 CASE N0.:2018-ca-013983-o
           DEAN BRISCOE,

                  Plaintiff,

           V.

           MENZIES AVIATION (USA), INC.,
           a Foreign Profit Corporation,

                  Defendant.
                                                    /
                                                                                        3:baC-
                                                        SUMMONS

           THE STATE OF FLORIDA:
           To Each Sheriff of the State

                   YOU ARE COMMANDED to serve this Summons and a copy of the Complaint or
           petition in this action on the

                                          MENZIES AVIATION (USA), INC.
                                            C/O REGISTERED AGENT
                                                          CSC                  _

                                          TALLAHASSEE, FLORIDA 32301

           Each Defendant is required to serve written defenses to the Complaint or petition on Brian M.
           Davis, Plaintiffls attorney, whose address is 250 N. Orange Ave., 14th Floor, Orlando, FL
           32801, within twenty (20) days after service of this Summons on that defendant, exclusive of the
           day of service, and to file the original of the defenses with the Clerk of this Court either before
           service on Plaintiffls attorney or immediately thereafter. If a defendant fails to do so, a default
           will be entered against that defendant for the relief demanded in the Complaint or petition.
                                                                Tiffany Moore Russell
                    January 3rd, 2019                             Clerk of the Court

                                                                     s/ Nlary Tinsley, Deputy Clerk
                                                                 By.
                                                                     2019.01.03 14:21:49 -05'00'
       x              ~~                                              As Deputy Clerk
                     ~1
            ~~
            •., vnsY~                                   Page 1 of 3
                      Civil Division
                      425 N. Orange Avenue
                      Room 310
                      Orlando, Florida 32801
Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 3 of 7 PageID 7




                                          IMPORTANT

 A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
 you to file a written response to the attached complaint with the clerk of this court. A phone call
 will not protect you. Your written response, including the case number given above and the
 names of the parties, must be filed if you want the court to hear your side of the case. If you do
 not file your response on time, you may lose the case, and your wages, money, and property may
 thereafter be taken without further warning from the court. There are other legal requirements.
 You may want to call an attorney right away. If you do not know an attorney, you may call an
 attorney referral service or a legal aid office (listed in the phone book). If you choose to file a
 written response yourself, at the same time you file your written response to the court you must
 also mail or take a copy of your written response to the "Plaintiff/Plaintiff's Attorney" named
 below.

                                         IMPORTANTE

 Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
 notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
 llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
 presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
 interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
 despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
 Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
 Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen
 en la guia telefonica. Si desea responder a la demanda por su cuenta, al mismo tiempo en que
 presenta su respuesta ante el tribunal, debera usted enviar por correo o entregar una copia de su
 respuesta a la persona denominada abajo como "Plaintiff/Plaintiffls Attorney" (Demandante o
 Abogado del Demandante).

                                          IMPORTANT

 Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir
 de la date de 1'assignation de cette citation pour deposer une reponse ecrite a la plainte ci jointe
 aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous
 etes obliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du
 nom des parties nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne
 deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
 votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
 ulterieur du tribunal. Il y a d'autres obligations juridiques et vous pouvez requerir les services
 immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un
                                              Page 2 of 3
Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 4 of 7 PageID 8




 service de reference d'avocats ou a un bureau d'assistance juridique (figurant a 1'annuaire de
 telephones). Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra
 egalement, en meme temps que cette formalite, faire parvenir ou expedier une copie de votre
 reponse ecrite au "Plaintiff/Plaintiffls Attorney" (Plaignant ou a son avocat) nomme ci-dessous.

                                                    /s/Brian Davis
                                                    Brian M. Davis
                                                    Florida Bar No: 884650
                                                    Trial Pro, P.A.
                                                    250 N. Orange Ave., 14th Floor
                                                    Orlando, Florida 32801
                                                    Telephone: (407) 300-0000
                                                    brian@TrialPro.com
                                                    jazmin@TrialPro.com

 If you are a person with a disability who needs any accommodation in order to participate
 in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
 Please contact Court Administration at 425 N. Orange Avenue, Room 2130, Orlando,
 Florida 32801, Telephone: (407) 836-2303 within two (2) working days of your receipt of
 this (describe notice); If you are hearing or voice impaired, call 1-800-955-8771.




                                           Page 3 of 3
       Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 5 of 7 PageID 9

Filing #•82607924 E-Filed 12/27/2018 03:24:35 PM


                                                              IN THE CIRCUIT COURT OF THE
                                                              NINTH JUDICIAL CIRCUIT, IN AND
                                                              FOR ORANGE COUNTY, FLORIDA

                                                               CASE NO.:
        DEAN BRISCOE,

               Plaintiff,

        V.

        MENZIES AVIATION (USA), INC.;
        a Foreign Profit Corporation,

               Defendant.


                                                  COMPLAINT

                COMES NOW, the Plaintiff, DEAN BRISCOE, by and through the undersigned counsel,

        and sues the Defendant, MENZIES AVIATION (USA), INC., and alleges:

                1.     This is an action for damages in excess of Fifteen Thousand and no/100 Dollars

        ($15,000), exclusive of costs, interest, and attorneys' fees.

                2.     At all times material hereto, the Plaintiff, DEAN BRISCOE, was a resident of

        Orange County, Florida.

                3.     At all times material hereto, the Defendant, MENZIES AVIATION (USA), INC.,

        was a Foreign Profit Corporation authorized to do business in the state of Florida.

                4.     On or about July 26, 2017, Plaintiff was the driver of a meal catering truck parked

         behind a Southwest plane at the Orlando International Airport, when an employee of Defendant,

         MENZIES AVIATION (USA), INC., driving a vehicle, reversed and slammed into the side of

        the vehicle Plaintiff was in Orlando, Orange County, Florida.




                                                     Page 1 of 3
Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 6 of 7 PageID 10




         5.      At that time and place, the Defendant's employee negligently failed to observe his

 surroundings and failed to control his motor vehicle, and, as result, crashed into the side of

 Plaintiffls motor vehicle causing injuries.

         6.      As a direct and proximate result of the Defendant's employee's negligence, the

 Plaintiff suffered damages described further below.

                     NEGLIGENCE OF MENZIES AVIATION (USA), INC.

         The Plaintiff re-alleges Paragraphs 1 through 9 herein and further alleges:

         7.      At all times material, Defendant's employee had a duty to operate and maintain

 his vehicle in a reasonable safe manner.

         8.      At all material times, Defendant's employee breached his duty by failing to

 operate his vehicle in a reasonably safe manner, and as a result Defendant's employee caused a

 collision with the Plaintiff's motor vehicle.

         9.      As a direct and proximate result of Defendant's employee's negligence, the

 Plaintiff suffered bodily injuries resulting in pain and suffering, aggravation of a preexisting

 condition, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

 expense of hospitalization, medical and nursing care and treatment, loss of earnings, and loss of

 the ability to earn money. The losses are either permanent or continuing, and the Plaintiff will

 continue to suffer these losses in the future.

         WHEREFORE, the plaintiff demands judgment for damages in excess of $15,000 against the

 defendant together with costs, prejudgment interest




                                                  Page 2 of 3
Case 6:19-cv-00182-ACC-DCI Document 1-1 Filed 01/28/19 Page 7 of 7 PageID 11




                                 DEMAND FOR JURY TRIAL

       The Plaintiff demands trial by jury of all triable issues.

       DATED this 27t ' day of December, 2018.

                                                      /.c/ Rrian navi.c
                                                      Brian M. Davis
                                                      Florida Bar No: 884650
                                                      Trial Pro, P.A.
                                                      250 N. Orange Ave., 14th Floor
                                                      Orlando, Florida 32801
                                                      Telephone: (407) 300-0000
                                                      brian@TrialPro.com
                                                      jazmin@TrialPro.com




                                             Page 3 of 3
